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ID,

CHAPTER III

RESERVING

BASIC RESERVING POLICY

A “reserve” is the dollar amount that the Company can reasonably expect to pay for a
complete settlement of the claim, including anticipated allocated expenses. It is based on
the facts known at the time the reserve is established or adjusted.

Claim reserves must be established on the basis of probable cost based on present values.
A probable cost reserve is that amount of money that the best available judgment
indicates it will cost to pay all future losses and expenses under that particular coverage.
Present value means that present costs are used to estimate the value of a future damage
settlement.

IMPORTANCE OF PROPER RESERVES

It is impossible to overemphasize the importance of establishing and maintaining
accurate claim reserves. For management to accurately evaluate the company’s financial
position, it must have assurance that claim reserves are appropriate.

A reserve should be established as soon as it is probable that a claim may be made. We
do not establish a reserve based on the mere possibility that a claim will be made, nor do
we fail to reserve for a probable claim even if we believe it can be successfully defended.
Reserve adjustments should be made timely as the facts of each case warrant.

Examples:

1, Insured calls in the at-fault loss; indicates he has damage to his vehicle and wants to
make a COL claim; indicates there was no damage to the claimant’s vehicle.

Do not open a property damage reserve at this time. You must speak to the
claimant first. Open a property damage reserve if he tells you that there is
damage to his vehicle.

2. Insured calls in the at-fault loss; indicates he has damage to his vehicle; indicates he
is unsure of the claimant had damage or not.

Do not open a property damage reserve at this time. You must speak to the
claimant first. Open a property damage reserve if he tells you that there is
damage to his vehicle.
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Ill.

Insured calls in the at-fault loss; indicates he has damage to his vehicle; indicates
there may have been damage to the claimant’s vehicle or property but has no info on
the claimant owner and left none of his info for the claimant.

Do not open a property damage reserve at this time. You must speak to the
claimant first. Open a property damage reserve if he tells you that there is
damage to his vehicle/property.

When considering the establishment of a BI feature in a no-fault state with a verbal tort
threshold, a reserve should not be opened unless there is evidence that the tort threshold
has been or will be pierced. An exception to this is when an attorney represents the BI
claimant and the attorney, on behalf of the injured party, has placed us on notice of his
representation of the claimant and his intention to prosecute a BI claim. In this situation,
the BI feature should be established.

TYPES OF RESERVES

The Companies use two types of claim file reserves: Average Reserves and Case
Reserves.

A.

Average Reserves

The Actuary determines the average reserve amount required for each claim
reported under the various coverages by calculating the actual loss experience
under each coverage. At the moment an “open feature” transaction is keyed
without a specific dollar amount in the “reserve amount” field of the claim inquiry
screen, the system will automatically establish the average (STAT) reserve.

Automobile claims with values of less than $50,000 are initially reserved on an
average basis. If the claim has a reserve value of $50,000 or more, case reserves
must be established immediately. If any feature, in one claim (BI, UM, UIM or
PIP) has a reserve value of $50,000 or more, then all BI, UM. UIM. and PIP
features must have a case reserve established immediately, For example, if a
claim has three minor BI claims, one BI claim with a reserve value of $50,000 or
more and four PIP claims, all BI and PIP claims must be placed on case reserve
immediately. In this example, none of the features can be permitted to remain on
“stat” reserves. Claims with a value of less than $50,000 are transferred to case
reserves at the end of the second month after the reported month.

Case Reserves

This type of reserving requires the establishment of a dollar reserve under each
feature involved. When case reserves are first set up, there may not be sufficient
information to permit a realistic appraisal; as subsequent information is
developed, the reserves must be adjusted. Establishing case reserves involves the

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exercise of good judgment and the consideration of such factors as probable
liability, amount of special damages, estimates of damage, nature of injuries and
any permanency, probable expenses of investigation, litigation and related
matters.

Reserves are established by probable cost based on present values. A probable
cost reserve is based on present costs and is used to estimate paying all future
losses and expenses under a particular coverage.

At the end of the second month after reported month, a 90 Day Control List (see
page III-10) for each claim handler is generated for open files. Reserves for all
features, with the exceptions of those noted below, should be changed from
average to case basis upon completion of the a 90 Day Control List Summary in
ALOG (see page III-11) during the 60 to 90 day case life period. Persons with

reserve authority equal to or greater than the suggested reserve must approve case

reserves.

Under the Claim Record Information System (CRIS), the physical damage
features including Comprehensive, Collision Property Damage, Loss of Use and
Medical Payments, and the other listed coverages below do not have to be
converted at 90 Day Control List time from average to case reserve unless the
examiner estimates that the loss and expense payments under the feature will
amount to $10,000 or more. If the feature is to remain open after the completion
of a 90 Day Control List Summary in ALOG and the exposure is not $10,000 or
more, the feature remains on average reserve.

If a feature is reopened, an individual with the authority to set the reserves as
indicated in TCM-50 must reopen it on a case basis.

When establishing case reserves, special damages, location of accident,
permanent injuries and any other such factors are taken into consideration.

The following are coverage/claim symbols, which do not require case reserves
unless the estimated amount of loss and expense payment are estimated to be
$10,000 or more:

 

 

 

 

 

 

 

 

Description Coverage Claim Symbol
Broad Form Collision* Coll CBF, CWD
Combined Additional CA PAO
Citizens Band Radio PCB PCB
Collision Coll COL, CWV, CDV
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PVM, PGL, PTH, PDV,
Comprehensive Comp PFO, PPT, PAO,
PFL, PFI, PAN, PWN, PEF
MBB, MBO, MBS,
Mechanical Breakdown MBI MBE, MBD, MBT
APD, APP, LPD,
Property Damage PD ADV,DPD, EPD, COP
Auto Home Contents Comp AHC
Stereo Buyback Comp PST
Fire, Lightning, Theft FLT PTH, PPT, PFI
Loss of Use PD LOU
Limited Collision* Coll LT€
Medical Payments Coverage MP MED
Personal Effects PE PEF
Per. Effects/Comb. Additional PE/CA PEF
Rental Reimbursement RR REN
Towing & Labor TOW TOW
Emergency Road Service ERS ERS
Uninsured Motorist UM UPD
Property Damage
Underinsured Property Damage UM XPD
* = MI Only

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The following are coverage/claim symbols, which do require case reserves:

 

 

 

 

 

 

 

 

 

 

 

 

Uninsured Motorist Bodily Injury UM UBI, UMD, UMS, UBX
Excess Underinsured UM XBI, UMB
Bodily Injury
Underinsured Bodily Injury UM UIM, UIX
Bodily Injury BI ABI, BID, RBI,
DBI, DPR, LBI
NBB, NBD, NBS, NDB
Basic Personal Injury Protection PIP NBF, NBI, NBW, NDF
NBM, NBR, NBA, NWL
FNL, DBC
PPO NPA, NPM, NPR,
Basic Preferred Provider NPS, NPW, NPC,
Organization NPL, NCC, NCR
NEI, NEM, NEF,
Additional Personal Injury APIP NES, NER, NEW,
Protection NEA, NEB
Additional Preferred Provider APPO NAA, NAM, NAR
Organization NAS, NAW, NDM,
NDR
Medical Payments Coverage MP LER, MEB
Extraordinary Medical Benefits EMB EMB
Accidental Death and Disability ADD ADE, ADI

 

 

 

 

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IV.

VI.

DEVELOPMENTAL RESERVES

This reserve is developed by the Actuary to compensate for the impact of inflation on
claims department establishment of “present values reserves.”

ESTABLISHING, ADJUSTING, MAINTAINING RESERVES

Examiners and adjusters must carefully analyze initial loss reports and indicate the
features involved. Reserves should be established for each feature when a claim appears
probable, but not for coverages under which there is no probability of a claim. As the
character of the file changes, it may be necessary to adjust the feature reserves, Reserves
may be changed at any time. The effectiveness of our reserve procedures depends on the
examiner’s or adjuster’s ability to identify the need to open, close, or revise the reserves
as the facts of the case warrant.

Reserves are subject to the guidelines listed in the next section with the requirement that
the responsibility for establishing and maintaining all case reserves is vested with
Supervisors, Managers, Directors, RLA’s and AVP’s. This responsibility cannot be
delegated and the authorizing party should review thoroughly the file content prior to
extending reserve authority. A Supervisor, Manager, Director or RLA must authorize all
reserves under Bodily Injury, Uninsured and Underinsured Motorists Bodily Injury

Coverage,

A C-86 Manager/Supervisor Reserve Worksheet form (See Exhibit 1, Page III-17) should
be completed for each claim on the 90 Day Control List, accounting for each BI, UM or
UIM feature and on any subsequent reserve change under these coverages.

BI, UMBI and UIM loss and expense reserves include an “inflation factor.” See Exhibit
2, Page III-18 for current inflation trends.

Examiners and adjusters are responsible for reviewing the accuracy of the reserves each
time the file crosses the desk.

GUIDELINES FOR ESTABLISHING RESERVES

Automobile claims with exposure of $50,000 or more under one feature or a combination
of features should be placed on case reserve immediately.

e All case reserves must be approved by persons with settlement authority equal to
or greater than the reserve amount, and where BI, UM or UIM reserves are
concerned, the reserve must be approved by a supervisor, manager or director.

e All changes in reserves that will result in the new reserve exceeding the examiner’s or
adjuster’s settlement authority must be approved by a claims associate who has
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¢ authority to approve the new reserve. See TCM-50 for loss/expense and reserve
authorization guidelines.

Supervisors and Claims managers should approve and review reserves at all 90 day, 6
month and 18 month file reviews.

e Reserves should be changed if the value of the claim changes by $300.00 or more.
Adjustments of less than $300.00 should not be made.

¢ Although it is not necessary to reopen every closed file for the purpose of making a
loss or expense payment, premature closure of a file should be avoided. Closed files
must be reopened to accommodate loss or expense payments of $300.00 or more.

¢ We must have detailed facts about the precise nature of injuries, treatment and
prognosis to ensure accurate reserves, This is particularly important during the first
two months of the case. Examiners and adjusters must obtain complete information
promptly from claimants and attorneys and be consistently mindful of reserve
maintenance.

* ¢ A negative reserve occurs if a payment exceeds the reserve amount established under
a specific feature. Our claim systems prevent a negative reserve from occurring; loss
payments cannot be issued unless there are reserves established in excess of the loss
payment. Therefore, before a payment can be issued, the reserve must be increased to
a sufficient amount.

¢ Catastrophic PIP cases can present a unique problem in accurately predicting case
reserve amounts. The type of injury, treatment and rehabilitation periods vary with
each claimant. If, after considering all factors, the examiner or adjuster still questions
the proper reserve amount, he or she should ask the supervisor or manager for
assistance.

* ¢ When settlement of a pending case has been negotiated, and the file will be closed
within the same calendar month, no reserve adjustment is necessary if the payment is
less than the reserve amount.

e Features involving first party physical damages need not be placed on case reserve
unless loss and expense are expected to amount to $] 0,000 or more,

e When a reserve is to be increased beyond regional authority, it may be necessary to
call Claims Home Office Legal for approval in order to complete a change before the
end of the current month. The Control File Alert Form may also be used to obtain a
reserve change (see Exhibit I, Chap. XIII).

¢ Do not set an inadequate reserve as an interim reserve while awaiting approval from
appropriate claims attorney or AVP of Claims Home Office

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VII.

VIII.

e Telephone calls to Claims Home Office Legal (CHOL) are required for reserve
approval on new control files when it will take more than 5 days to get the Control
Alert Form to CHOL. Telephone calls are also required when we are within 5 days of
the end of the month, Otherwise, the Alert Form may be sent with a recommended
reserve.

RESERVE INCREASE PROCEDURES

When a file is considered for control status (Chapter XIII) and a reserve increase is
warranted, a representative from the region (the examiner, manager, or RLA) may call
Claims Legal to review the case. This will include providing the Claim Home Office
Legal Attorney with the claim number, insured’s name, loss location, date of loss, policy
limits, facts and circumstances of the loss, and injuries to the claimant(s), age(s), and
occupation(s). Notes will be posted to ALOG

The region will recommend a new reserve figure. If the Claims Home Office Claims
Attorney is in agreement, it is approved. If not, advice is given to the regional
representative on what is appropriate under the circumstances. Approval of the
appropriate reserve adjustment is transmitted via ALOG/SYSM. In addition, a notation is
placed on ALOG that the file is to be submitted to Claims Home Office in the near future
as a control file. ALOG approval of the reserve adjustment is usually done within 24
hours of the phone call and should not exceed two business days. Alternatively, a reserve
adjustment may be recommended on a Control File Alert Form.

If a reserve increase has been authorized, but the file has not been placed on control soon
after confirmation of the reserve adjustment, either a phone call is placed to the examiner
or message via SYSM/ALOG is sent to the examiner requesting that the file be placed on
control.

THE CLAIMS SYSTEM AND CLAIMS CONTROL LISTS

The CRT/PC is used for all reserve changes, The systems manual provides the
procedures to follow. The following forms are used to review and change reserves and to
review file handling:

 

90 Day Control List

 

6 Month Control List

 

18 Month Control List

 

 

 

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A.

90 Day Control List

l,

When using this computer-produced list, the supervisor combines file
review with changing reserves from average to case for each claim on the
list. The list is produced monthly and shows each open file, which has
aged for two months from reported date. A 90 Day Control List summary
must be completed by the end of the third month at which time all open
features still on average reserve will be transferred to case reserve.

Claims handlers must create a 90 Day Control List Summary in ALOG for
every claim on the 90 Day Control List. Supervisors and managers review
each summary and give direction, comments and instructions in ALOG.
Each Summary and supervisor/manager review must be completed by the
end of the month in which the 90" day falls.

A sample of a 90 Day Control List is on the next page and a sample of a
90 Day Control List Summary Format follows.

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TOOT eT 103 TO CSOTOTOEZOOET9NN
TOOT TO nol c0 bITLOLOObhOE6 100
TOOT TO adv 90
TOOT 10 dV SO
TOOT TO dV 60 TOTTOTO86S9S8T00
ALVvd 03 TOSWAS 4INWTD YasWNN WIV
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L00¢@ 62 YASW303ad

ALVd ASVS1Sy
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9S¢ 39d SAINVdWOD ALTWNSWO/ALYSdOUd ODIF9

TOT-WOSTID “ON LYOday
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CONTROL LIST SUMMARY FORMAT

|. Loss Description -

2. Coverage -
3. Liability -
4. Damages -

5. Course of Action -

What happened?
Is investigation complete? If not, why?

Is coverage in order? Any coverage problems?
Any limits problem?

Who is at fault?) Why?
Comparative negligence? What is the % attributed to each?

What features are still open? Name claimant and feature number.
Note any payments made.

Any vehicle inspections still pending?

Any subrogation potential?

List each injured party’s name, age and occupation.
° Diagnosis (What is the injury?)

° History (Medical background, related injuries, prior
injuries?)
° What sort of treatment are they receiving? How often?

What type of provider?
oO MD Medical doctor
oO DC Chiropractor
oO DO Osteopath
oO RPT Registered Physical Therapist
oO LMT Licensed Massage Therapist

° Prognosis. How much longer will treatment continue?
Additional tests recommended? Other treatment
recommended? Length of future treatment?

° What are the total bills paid to date? Any outstanding
bills? Projected future bills?

« Will they have a loss of earnings claim? How much? Any
disability?

What needs to be done to close?

What can we do to resolve?

Address each open injury feature. Does any feature need a
reserve?

If so, what amount do you recommend?

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* Every review should include the elements set out in parts | thru 5 above. Reserves
should be addressed when completing Part 5. The claims representative, as part of the
review process, should discuss each open feature and comment on the reserve for that
feature. If no change in reserve is needed, the file should reflect that the reserve was
considered and left unchanged. If a change in the reserve is needed, the claims
representative should describe the new information which led to this conclusion. The
claims representative should then make a recommendation for increasing or decreasing
the reserve for the particular feature. Every review must specifically address reserves for
every open injury feature. Management personnel are responsible for insuring that
reserves are considered and that the consideration is documented when completing all 90
day (C-71), 6 month (C63) and 18 month (C-178) reviews.

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B. 6 Month Control List

1

The 6 Month Control List is used to identify all open claim files that aged
five months from reported month.

Claims handlers must create a 6 Month Control List Summary in ALOG
for every claim on the 6 Month Control List. Supervisors and managers
review each summary and give direction, comments and instructions in
ALOG,

All reserves should be reviewed for accuracy and changed in the Claims
system if necessary. Supervisors and managers must document ALOG
with respect to the adequacy of the reserves,

All 6 Month Control List Summaries and supervisor/manager reviews by.
the end of the 6" month

A sample of a 6 Month Control List is on the next page.

III-13
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ve A9Vd

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YANN WIV1D

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LO¢-WOST19 ‘ON LYOd3uy
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&; 18 Month Control List

 

I,

¥ 3.
* 4.
5:

The 18 Month Control List is used to identify all open claim files that aged 17
months from reported month.

Claims handlers must create an 18 Month Control List Summary in ALOG
for every claim on the 18 Month Control List, Supervisors and managers
review each summary and give direction, comments and instruction in ALOG.

All reserves should be reviewed for accuracy and changed in the Claims
system if necessary. Supervisors and managers must document ALOG with
respect to the adequacy of the reserves.

All 18 Month Control List Summaries and supervisor/manager reviews
must be completed by the end to the 18" month.

A sample of an 18 Month Control List is on the next page.

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LO/pe/Lt S1VO NNY
v8 3DVd

9T-HI
€ 109 LO
Oo OSWAS LNW15
WIW1D

L002 ‘b2 YSSWSAON

SLVd ASV31Sy
LSIT TONLNOS HLNOW 81
SSINVdWOD ALIWNSVO/ALYSdONd ODIF9

€60L0L0€S/87r600

YasWNN WIVID

SO - 904
XXXX  -3G00 YAaLSnrav

LO/be/LL ALVGO LYOd]ay
LOé-W0ST19 ‘ON LYOd3y
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IX.

XI.

XII.

INCURRED BUT NOT REPORTED CLAIMS (IBNR)

The total amount of money, which the Company earmarks for claim purposes, includes
both reported claims and those incurred but not reported. Reported claims are those for
which claim files have been established. Incurred but not reported claims are those for
which claim files have not been established although the accident or loss has occurred
and we may or may not have the report at the Company. Actuary determines the reserve
for incurred but not reported claims.

REINSURANCE RECOVERABLE RESERVES

Reinsurance recoverable reserves are not actually reserves but are estimates of the
amount in excess of our retention, which we can expect to recover from the reinsurance
carrier. Automobile and homeowners, CPL and pacesetter reinsurance recoverable
reserves will be established, maintained and closed by Claims Home Office. A copy of
the accounting document will be sent to the claims file for retention.

Under the CRIS system, there is no field for the entry of a reinsurance recoverable
reserve and these reserves are accounted for in a manual account maintained in Claims
Home Office. Where a reinsurance reserve is being maintained on a claim processed
under the CRIS system, the reinsurance indicator should be activated in the CRIS system
so that the claim is identified as having reinsurance involvement.

Under PIPS, reinsurance recoverable reserves are established and maintained by PIC’s
Claims Processing Unit at the direction of the Claims Home Office.

REINSURANCE RECOVERABLE PAYMENTS

The Claims Home Office handles reinsurance recovery payments, Examiners must
maintain their claim files on an open basis until notified of the receipt of the reinsurance
recovery payment.

REINSURANCE TREATY

The Company had a reinsurance treaty to protect it against large losses under its policies.
Between April 1, 1993 and August 7, 2001, losses were reinsured above $1 million to a
limit of $10 million.

As of August 7, 2001, the Company will be self-insured for most of its policies. The
exceptions will be motorcycle policies and all policies written in New Hampshire. They
will continue to be covered under a reinsurance treaty until February 7, 2002. After
February 7, 2002, the Company will be totally self-insured.

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MANAGER/SUPERVISOR RESERVE WORKSHEET

CLAIM NUMBER

 

CLAIMANT NAME

PROBABLE CURRENT LOSS
PROBABLE CURRENT EXPENSE
TOTAL PROBABLE CURRENT COST
INFLATION FACTOR

NEW NET RESERVE

Approval Initials & Date

CLAIMANT NAME

 

PROBABLE CURRENT LOSS
PROBABLE CURRENT EXPENSE
TOTAL PROBABLE CURRENT COST
INFLATION FACTOR

NEW NET RESERVE

Approval Initials & Date

CLAIMANT NAME

PROBABLE CURRENT LOSS
PROBABLE CURRENT EXPENSE
TOTAL PROBABLE CURRENT COST
INFLATION FACTOR

NEW NET RESERVE

Approval Initials & Date

CLAIMANT NAME

PROBABLE CURRENT LOSS
PROBABLE CURRENT EXPENSE
TOTAL PROBABLE CURRENT COST
INFLATION FACTOR

NEW NET RESERVE

Approval Initials & Date

Cumulative Totals:
TOTAL PROBABLE CURRENT LOSS

TOTAL PROBABLE CURRENT EXPENSE
TOTAL PROBABLE CURRENT COST
TOTAL NEW NET RESERVE

BI-UM-UIM

POLICY LIMITS

“ Chance of suit

% Chance of suit

% Chance of suit

% Chance of suit

I1I-18

0-33

0-33

0-33

0-33

34-67

34-67

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EXHIBIT I

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EXHIBIT 2
BODILY INJURY INFLATION RATE: 10.6%
MO FACTOR MQ FACTOR MO FACTOR
L. 1.01 21. 1.19 41. 1.41
2. 1.02 22. 1.20 42. 1.42
3 1.03 23. 1.21 43. 1.43
4. 1.03 24. 1.22 44. 1.45
5. 1.04 25. 1.23 45. 1.46
6. 1.05 26. 1.24 46. 1.47
7. 1.06 27. 1.25 47. 1.48
8. 1.07 28. 1.27 48. 1.50
9. 1.08 29. 1.28 49. 1.51
10. 1.09 30. 1.29 50. 1.52
ll. 1.10 31. 1.30 51. 1.53
12, 1.11 32. 131 52. 1.55
13. 1.12 33. 1.32 53. 1.56
14. 1.12 34. 1.33 54. 1.57
15. 1,13 35, 1.34 55. 1.59
16. 1.14 36. 1.35 56. 1.60
17, LIS 37, 1.36 Si 1.6]
18. 1.16 38. 1.38 58. 1.63
19. 1.17 39. 1.39 59. 1.64
20. 1.18 40, 1.40 60. 1.65
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